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AO 450 (GAS Rev 09/20) Judgment in a Civil Case

 

United States District Court
Southern District of Georgia

WILLIAM JOE MITCHELL,

Plaintiff,
JUDGMENT IN A CIVIL CASE

v. CASE NUMBER: 77! -C¥-34

ED MARCHAN; and BOLAJI AREMU,

Defendants.

Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
has rendered its verdict.

VW] Decision by Court. This action came before the Court. The issues have been considered and a decision has been
rendered.

IT IS ORDERED AND ADJUDGED

that, in accordance with the Order entered May 25, 2021, Plaintiff's motion to voluntarily
dismiss without prejudice all claims against Defendants Ed Marchan and Bolaji Aremu is granted.

This case stands closed.

Approved by:

 

HON, LISA GODBEY WOOD, JUDGE
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

ane [ 2% 24 John E. Triplett, Acting Clerk
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Date Clerk

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(By) Deputy Clerk

 

GAS Rev 10/2020
